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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE F l L E D By
EASTERN DIVISION
JUL 1 3 2005
Thomas M. gould, mem
RAYMOND WHITEHEAD, ) wEJI-J.S-O?:'§r*:|<‘=f£oc::m
)
Plaintiff, )
l
VS. ) NO. 04-1236-T
)
JO ANNE B. BARNHART, )
Comrnissioner of Social Security, )
)
Defendant. )

 

ORDER AWARDING ATTORNEY FEES

 

Plaintit`f Rayrnond Whitehead filed this action to obtain judicial review of the
Commissioner’s final decision denying his Socia] Security benefits On March 9, 2005, the
court entered an order reversing the decision and remanding for further proceedings in
accordance with sentence four of 42 U.S.C. § 405(g). Judgment was entered on March 4,
2005. Plaintiff has now filed a motion for an award of attorney fees in the amount of
$3,075.00, pursuant to the Equal Access to Justice Act (EAJA), 28 U.S.C. § 2412(d). This
amount was determined by the attorney’s rate of 3125.00 per hour for 24.6 hours of work
spent on Plaintiff"s case. The Coinmissioner responded and does not contest the award of
attorney’s fees under the EAJA.

Under the EAJA, the court shall “award to a prevailing party . . . fees and other

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expenses . . . incurred by that party in any civil action . . . , including proceedings for judicial
review of agency action, brought by or against the United States . . . , unless the Court finds
that the position of the United States was substantially justified or that special circumstances
make an award unjust.” 28 U.S.C. § 2412(d)(l)(A). A social security plaintiffwho obtains
a sentence-four remand is a prevailing party under the EAJA. Shalala v. Schaefer, 509 U.S.
292, 300~02 (1993).

fn this case, the Commissioner has acquiesced in an award of fees, thus conceding
that her position was not substantially justified The court also concludes that there are no
special circumstances that would make an award unjustl Consequently, Plaintiff is entitled
to an award of attorney fees. The motion for an award Of attorney fees is GRANTED, and
Plaintiff is awarded attorney fees in the amount of $3,075.00.

IT IS SO ORDERED.

Q£¢/MZ).Q-¢M

JAM D.TODD
UN DSTATES DISTRICT JUDGE

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DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 1:04-CV-01236 was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

